                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

FRACTUS, S.A.,                                     §
                                                   §
                Plaintiff,                         §
                                                   §
v.                                                 §   CIVIL ACTION NO. 2:22-CV-00412-JRG
                                                   §              (LEAD CASE)
ADT LLC,                                           §
                                                   §
                Defendant.                         §


FRACTUS, S.A.,                                     §
                                                   §
                Plaintiff,                         §
                                                   §
v.                                                 §   CIVIL ACTION NO. 2:22-CV-00413-JRG
                                                   §
VIVINT, INC.,                                      §
                                                   §
                Defendant.                         §

                                             ORDER
       The Court hereby appoints Mr. Michael Dean Paul as the Court’s technical advisor in this

case with his fees and expenses to be assessed equally between Plaintiff and Defendants and timely

paid as billed. Mr. Paul’s contact information is as follows:

       Michael D. Paul
       Michael D. Paul, PLLC
       26110 High Timber Pass St.
       San Antonio, TX 78260-8041
       Phone: (210) 473-8696
       Email: mdeanpaul@gmail.com

       The parties are ORDERED to send courtesy copies of claim construction briefs, exhibits,

and technology tutorials (“claim construction materials”) in PDF form to mdeanpaul@gmail.com.

If the document was filed with the Court, the copy must include the CM/ECF header. For claim
construction materials that have already been filed, the filing party is ORDERED to provide

copies to Mr. Paul within two business days. Otherwise, the filing party is ORDERED to provide

copies to Mr. Paul no later than one business day after filing future claim construction materials.


     So ORDERED and SIGNED this 1st day of December, 2023.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE




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